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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                           MIDLAND/ODESSA DIVISION

CODY BAGGETT                              §
                                          §
V.                                        §   NO.   MO-17-CV-178
                                          §
SAGA PETROLEUM LLC OF                     §
COLORADO                                  §

                                          ORDER

      It is ORDERED the above-styled and numbered cause filed in this Court on

September 12, 2017, is referred to the United States Magistrate Judge for the

Midland/Odessa Division, pursuant to the authority vested in United States Magistrate

Judges by 28 U.S.C. § 636 and Appendix C of the Local Court Rules for the Assignment

of Duties to United States Magistrates.

      It is further ORDERED the Magistrate Judge for the Midland/Odessa Division, in

the interest of obtaining prompt resolution of the above-styled and numbered cause,

shall have the authority to issue any preliminary orders and conduct any necessary

evidentiary hearings or other appropriate proceedings. The Magistrate Judge shall

submit to the District Court Judge a report containing proposed Findings of Fact and

Recommendations for disposition of the above-captioned cause.

      IT IS SO ORDERED

      SIGNED this 13th day of September, 2017.




                                  ROBERT JUNELL
                                  SENIOR U. S. DISTRICT JUDGE
